      Case: 1:21-cv-00166-GHD-DAS Doc #: 6 Filed: 02/04/22 1 of 4 PageID #: 51




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 ABERDEEN DIVISION

CLOVIS DANIEL MORTON                                                       PLAINTIFF

V.                                                   CAUSE NO. 1:21-CV-00166-GHD-DAS

WAL-MART STORES, INC.                                                     DEFENDANT



                                     RULE 16 INITIAL ORDER

      The court will conduct a Telephonic Case Management Conference (CMC) in this action
on March 7, 2022 at 9:30 a.m. before:

                      Magistrate Judge David A. Sanders
                      203 Gilmore Drive
                      Amory, MS 38821
                      Telephone: (662) 369-2138


       ***DIAL-IN INFORMATION FOR PARTICIPANTS***            877-336-1839, Access Code 6893215



PLEASE NOTE:       Counsel must use the latest version of the Case Management Order Form on
the court web site at http://www.msnd.uscourts.gov/forms/cs-mgmt-ordr as Form No. 1 in the
Uniform Local Civil Rules, effective December 1, 2015, in discussions and preparation for the
CMC. Because the Form is updated regularly, counsel should always use the link to the Form
rather than saving the Form to counsel’s computer system. Do NOT print the Form to PDF
before sending it to the court; instead, save the document and forward it to the court in that
format so that the court can insert changes made at the Case Management Conference.

                         FED. R. CIV. P. 26(F) ATTORNEY CONFERENCE

       AT LEAST twenty-one days before the CMC, counsel must confer in person or
telephonically and be prepared to report to the court:

       1.     The principal factual and legal issues in dispute;


                                                1
      Case: 1:21-cv-00166-GHD-DAS Doc #: 6 Filed: 02/04/22 2 of 4 PageID #: 52




       2.      The principal evidentiary basis for claims and defenses;

       3.      The number of days required for trial, whether the parties intend to call experts,
               the total number and the fields of expertise likely to be necessary, and whether
               the case should be considered for Alternative Dispute Resolution (ADR);

       4.      Any motions whose early resolution would have significant impact on the scope of
               discovery or other aspects of the litigation;

       5.      What additional discovery is required beyond the voluntary disclosures and initial
               depositions of the parties, with designated time limitations;

       6.      Each of the eleven discrete matters related to electronically stored information
               specified in L.U.CIV.R. 26(e)(2)(B);

       7.      Whether all parties consent to jurisdiction by a Magistrate Judge;

       8.      The appropriate time for a L.U.CIV.R. 16(g) settlement conference;

       9.      Both settlement prospects and the costs of going through litigation and the
               appeal process, which counsel must explore fully with each other and their
               respective clients and represent to the court that they have done; and

       10.     The contents of a proposed case management order. The court will determine
               all deadlines at the Case Management Conference itself.

                          PROPOSED CASE MANAGEMENT ORDER AND
                           CONFIDENTIAL SETTLEMENT MEMORANDA

        Counsel must submit a joint proposed case management order by e-mail (NO FAXES) to
the Magistrate Judge, at judge_sanders@msnd.uscourts.gov, NO LATER THAN February 28,
2022. At the same time counsel must also submit a memorandum (3-page maximum) with a
brief explanation of the case and a candid appraisal of the parties’ respective positions, including
possible settlement figures and a good faith estimate of the expense of carrying the litigation
through trial and the appellate process, if not settled. Counsel must have discussed, and will
represent to the court that they have in fact discussed, these costs with their respective clients
and must be prepared to candidly discuss them with the court. These memoranda are not to
be exchanged, will be viewed only by the court, will not become a part of the record and will be
destroyed upon the resolution of the case.



                                                 2
     Case: 1:21-cv-00166-GHD-DAS Doc #: 6 Filed: 02/04/22 3 of 4 PageID #: 53




       ***There will be no additional reminders of the deadline for submitting the
joint proposed Case Management Order and Confidential Settlement Memoranda.
Counsel will no longer receive courtesy emails or telephone calls from the
Magistrate Judge’s chambers when they fail to timely submit the required Case
Management Conference documents. Failure to comply with these instructions
will result in the cancellation and rescheduling of the Case Management
Conference approximately six (6) weeks later. All delays will be reflected in the
deadlines set by the Court in the Case Management Order.***



                                  CASE MANAGEMENT PLAN

      At the Case Management Conference, the court and the parties will:

      1.     Identify the principal factual and legal issues in dispute;

      2.     Identify the alternative dispute resolution procedure which counsel intend to use,
             or report specifically why no such procedure would assist in the resolution of the
             case;
      3.     Indicate whether all parties consent to jurisdiction by a magistrate judge;

      4.     Review the parties’ compliance with their disclosure obligations and
             consider whether to order additional disclosures;

      5.     Determine whether there is discoverable ESI and, if so, the means by which it will
             be obtained and produced;

      6.     Determine whether early filing of any motions might significantly affect the scope
             of discovery or other aspects of the litigation, and provide for the staged
             resolution, or bifurcation of issues for trial consistent with FED.R.CIV.P. 42(b);

      7.     Determine the plan for at least the first stage of discovery; impose limitations on
             each discovery tool, time periods and other appropriate matters;

      8.     Determine the date for a settlement conference or mediation; and

      9.     Set appropriate deadlines for completion of discovery and filing motions and
             dates for the final pretrial conference and trial.


                                                3
Case: 1:21-cv-00166-GHD-DAS Doc #: 6 Filed: 02/04/22 4 of 4 PageID #: 54




                          CASE MANAGEMENT ORDER

        The court will enter a Case Management Order within seven days of the
 conference, unless otherwise agreed upon during the Case Management Conference.

       This, the 4th day of February, 2022.


                                              /s/ David A. Sanders
                                              UNITED STATES MAGISTRATE JUDGE




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